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                        UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF WEST VIRGINIA
                                AT CHARLESTON


UNITED STATES OF AMERICA

v.                                    CRIMINAL ACTION NO. 2:05-00107-01

GEORGE LECCO


                        MEMORANDUM OPINION AND ORDER


            Pending are defendant’s renewed motions for a

non-unanimous jury verdict option, for disclosure of any and all

contact between government agents or prosecutors and potential

jailhouse informants incarcerated with defendant (“first motion

for disclosure”), for disclosure of medical, mental health,

prescription drug, jail and Social Security records of

cooperating witnesses (“second motion for disclosure”), to bar

the introduction or display of inflammatory scene and/or autopsy

photographs or related physical evidence (“motion to bar

photographs”), all filed September 25, 2009, and his motion in

limine concerning Patricia Burton, and to seal the motion in

limine, filed respectively on October 11 and 10, 2009.


            At a hearing held November 10, 2009, came the

defendant, in person and by counsel, Gerald T. Zerkin, Senior

Assistant Federal Public Defender, and Brian J. Kornbrath,

Federal Public Defender, and came the United States by Criminal
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Division Chief Philip H. Wright and Assistant United States

Attorney Greg McVey.


            Based upon the discussions more fully reflected on the

record of the November 10, 2009, hearing, it is ORDERED that the

renewed first and second motions for disclosure, and the motion

to bar photographs, be, and they hereby are, denied as moot.

Additionally, the court ORDERED that the renewed motion for a

non-unanimous jury verdict option, and to seal the motion in

limine concerning Patricia Burton, be, and they hereby are,

denied.


            Regarding the motion in limine concerning Patricia

Burton, counsel advised the court of an additional issue for

which the court will entertain supplemental briefing according to

the following schedule:

      1.    Defendant’s brief in support due no later than November

            24, 2009;

      2.    The United States’ response due no later than December

            4, 2009; and

      3.    Defendant’s reply due no later than December 11, 2009.


Should defendant fail to submit his brief in support on November

24, 2009, the court will resolve the motion in limine based upon

the briefing submitted to date.


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            After hearing the parties concerning an appropriate

schedule in the case, it is ORDERED that the following dates be,

and the hereby are, adopted as the time within which pretrial

proceedings will conclude and trial will commence:

            EVENT                                                    DATE
 Submission of Final Proposed Jury Questionnaire                12/15/2009

 Status Hearing                                            02/19/2010 / 1:30 pm

 Order Entered Summoning 400 Prospective Jurors                 02/23/2010

 Questionnaires Mailed to 400 Prospective Jurors                02/25/2010

 Deadline for Return of Questionnaires to Clerk                 03/2/2010

 Letter Sent to Those Failing to Return Questionnaires          03/3/2010

 Second Deadline for Return of Questionnaires to Clerk          03/9/2009

 Clerk Delivers Electronic, Scanned Questionnaires              03/12/2010

 Counsel Review the Scanned Questionnaires                    03/12-25/2010

 Counsel Submit Their List of Agreed Strikes for Cause          03/29/2010

 Individual Voir Dire Schedule Sent to Jurors and               04/1/2010
 Counsel

 Individual Voir Dire Begins                                    04/5/2010

 Opening Statements                                            Conclusion of
                                                           Individual Voir Dire
                                                               Plus Two Days



            The court finds that a retrial date preceding April 5,

2010, would result in a miscarriage of justice pursuant to 18

U.S.C. section 3161(h)(7)(B)(i).           An earlier retrial date would

deny the defendant and his counsel, neither of whom participated

in the first trial, and one of whom was appointed September 3,

2009, the reasonable time necessary for effective preparation of


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the case, taking into account the exercise of due diligence.                 See

18 U.S.C. § 3161(h)(7) (B)(iv).


            The court additionally finds the case is so unusual and

complex, due to the nature of the prosecution and the

discontinuity of counsel, that it is unreasonable to expect

adequate preparation for the retrial within the time limits

established by the Speedy Trial Act.           See 18 U.S.C. § 3161(h)

(7)(B)(ii); see also 4 Wayne R. LaFave et al., Criminal Procedure

§ 18.3(b) (2d ed. 1999 and supp. 2005) (citing United States v.

Murillo, 288 F.3d 1126, 1133 (9th Cir. 2002) ("We join our sister

circuit in holding that the death penalty consideration process

is a valid reason to grant an ends of justice continuance.")

(citing United States v. Mathis, 96 F.3d 1577, 1581 (11th Cir.

1996)).


            Based upon these findings, the court further finds that

the ends of justice served by setting the trial on April 5, 2010,

outweighs the best interests of the public and the defendant in a

speedy trial.        The court, accordingly, ORDERS that the period of

time from October 27, 2009, to April 5, 2010, be, and it hereby

is, excluded for purposes of the Speedy Trial Act.




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            The Clerk is directed to forward copies of this written

opinion and order to the defendant and all counsel of record.

                                          DATED:      November 16, 2009


                                          John T. Copenhaver, Jr.
                                          United States District Judge




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